 

Case 2:16-cv-00238-D Document 25 Filed 03/17/17 Page 1 of 2 Page|D 90

IN THE UNITED STATES DISTRICT COURT

FoR THE NoRTHERN DISTRICT oF TEXAS j z '
AMARILLo DIvlsIoN …

 

KIl\/IBERLY D. POLLARD and J.S. (A §
Minor Child), §
PLAINTIFFS, §
vs. §

§ CIVIL ACTION CAUSE NUMBER
CHURCH OF GOD IN CHRIST, INC., an §
Active Domestic Tennessee Nonprofit §

Corporation, and CHURCH OF GOD lN § 2:16-CV-238-J
CHRIST, BOARD OF BISHOPS, and BISHOP §
JAMES L’KEITH JONES, §
§
DEFENDANTS. §
W

The Court having granted Plaintiffs’ motion for entry of a final default judgment in favor of
the Plaintiffs and against Defendant Bishop James L’Keith Jones, Individually, because of the
Defendant’s default by failure to timely answer the Plaintiffs’ original complaint, a final default
judgment is hereby entered in favor of Plaintiffs Kimberly D. Pollard, Individually and as Personal
Representative of J.S., a minor, against Defendant Bishop J ames L’Keith Jones, Individually, in the
total amount of $750,000.00 in damages, plus reasonable and necessary costs in this action. This
judgment is a final judgment on all of the claims and causes of action brought herein by both the
Plaintiffs against Defendant Bishop J ames L’Keith Jones.

lt is therefore ORDERED, ADJUDGED, and DECREED that Plaintiffs Kimberly D. Pollard,
Individually and as Personal Representative of J.S., a minor, have and recover the sum of Seven
Hundred and Fifty Thousand Dollars and No Cents ($750,000.00) from Defendant Bishop James

L’Keith Jones’, lndividually, plus Plaintiffs’ reasonable and necessary costs; and it is

 

Case 2:16-cv-OO238-D Document 25 Filed 03/17/17 Page 2 of 2 Page|D 91

FURTHER ORDERED, ADJUDGED, and DECREED that the Plaintiffs recover post-
judgment interest on the total amount awarded herein at an annual rate of l .Ol% per annum from the
date of this Final Judgment until it is paid in full.

It is SO ORDERED, ADJUDGED, and DECREED.

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Signed and Entered this the //7 day of March, 2017.

 

SENIOR TED STATES DISTRICT JUDGE

